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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

IN RE:                                                     §
                                                           §
GRIDDY ENERGY, LLC1                                        §    CASE NO. 21-30923 (MI)
     DEBTOR                                                §        (Chapter 11)

                         LIMITED OBJECTION TO PRIORITY STATUS OF
                              CLAIM NO. 29 OF CARRIE MUTONG

    Claim No: Stretto Claim No. 29 (the “Claim”)

    Claimant: Carrie Mutong Customer No. 29350 (“Claimant”)

    Date Claim Filed: 04/02/2021

    Amount of Claim as Filed: $5,000.00

    Status of Claim as Filed: Priority Claim in the amount of $ 3,025.00;
                             General Unsecured claim (resulting) in the amount of $1975.00

    Basis of Objection: The Claim does not meet the statutory qualifications for asserted
    priority status; The Claim should be reclassified as a general unsecured claim, without
    prejudice to further objection, including as to validity or amount.

    Proposed Classification of Claim: Priority Claim in the amount of $0.00;
                                General Unsecured Claim in the amount of $5,000.00.


        THIS IS AN OBJECTION TO YOUR CLAIM. THIS OBJECTION ASKS THE
        COURT TO RECHARACTERIZE YOUR CLAIM FROM AN ADMINISTRATIVE
        CLAIM TO AN UNSECURED CLAIM IN THIS BANKRUPTCY CASE. YOU
        SHOULD IMMEDIATELY CONTACT THE OBJECTING PARTY TO RESOLVE
        THE DISPUTE. IF YOU DO NOT REACH AN AGREEMENT, YOU MUST FILE
        A RESPONSE TO THIS OBJECTION AND SEND A COPY OF YOUR RESPONSE
        TO THE OBJECTING PARTY WITHIN 30 DAYS AFTER THIS OBJECTION
        WAS SERVED ON YOU. IF NO RESPONSE IN OPPOSITION IS TIMELY
        SERVED AND FILED, THIS CLAIM OBJECTION SHALL BE DEEMED TO BE
        UNOPPOSED, AND THE COURT MAY ENTER AN ORDER SUSTAINING THE
        OBJECTION TO YOUR CLAIM AND YOUR CLAIM MAY BE RECLASSIFIED
        AS AN UNSECURED CLAIM.




1
  The last four digits of the Debtor’s federal tax identification number are 1396. The mailing address for the Debtor
is P.O. Box 1288, Greens Farms, CT 06838.
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       A STATUS AND SCHEDULING CONFERENCE HAS BEEN SET ON THIS
       MATTER ON JANUARY 9, 2023, AT 10:00 A.M. BEFORE THE HONORABLE
       MARVIN ISGUR.  PERSONS MAY APPEAR TELEPHONICALLY OR VIA
       VIDEO AT THIS HEARING. REPRESENTED PARTIES SHOULD ACT
       THROUGH THEIR ATTORNEY.

Telephonic Participation
Dial-in Telephone No.: 832-917-1510                             Video Participation
Conference Code No.: 954554                                     https://www.gotomeet.me/JudgeIsgur

         RUSSELL NELMS, Plan Administrator, for that certain Modified Third Amended Plan of

Liquidation for Griddy Energy, LLC under Chapter 11 of the Bankruptcy Code, dated May 26, 2021,

[Docket No. 311](and as amended, modified and/or supplemented, the “Plan”), filed by Griddy Energy,

LLC (the “Debtor”) and confirmed by that certain Confirmation Order, dated July 7, 2021 [Docket No.

386](the “Confirmation Order”), hereby files this Limited Objection seeking to reclassify Claim No.

29 of Carrie Mutong , and in support thereof, respectfully states:

                                                Jurisdiction and Authority

1.       This Court has jurisdiction of this matter, pursuant to 28 U.S.C. §1334. This matter is a core

         proceeding pursuant to 28 U.S.C. §157(b). Venue is proper pursuant to 28 U.S.C. §§ 1408 and

         1409.

2.       The Court has the authority to grant the requested relief pursuant to Sections 105(a), 502 and

         503 of the Bankruptcy Code, Rule 3007 of the Federal Rules of Bankruptcy Procedure and

         Rule 3007-1 of the Bankruptcy Local Rules and the confirmed Plan.

                                                        Background

3.       On March 15, 2021 (the “Petition Date”), the Debtor filed a voluntary petition for relief under

         Chapter 11 of the Bankruptcy Code. On July 7, 2021, the Debtor confirmed its liquidating

         Plan and the Plan Administrator is charged with implementing the Plan, including the

         determination of the propriety, classification and validity of claims.

4.       Pursuant to the Plan, the Plan Administrator is responsible for evaluating asserted claims

         against the Debtor, and, if necessary, objecting to same.           The Plan provides the Plan
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         Administrator authority to compromise, settle and resolve asserted claims, without the need for

         Bankruptcy Court approval.

             Claim and Objection to Reclassify as an Unsecured Class 5 Customer Claim

5.       Claimant is a former customer of the Debtor. Claimant has filed the Claim, for damages,

         charges or other negative consequences and/or alleged injuries resulting from her contract with

         the Debtor for the purchase of electricity and the increased prices thereof, associated with

         Winter Storm Uri, on or about February 13-19, 2021. A copy of the Claim is attached hereto

         as Exhibit “A.”            The Claim relates to costs and damages prior to the Petition Date.

         Nonetheless, there is some indication within the Claim that the Claim, as filed, purports to

         assert that some portion of the Claim should be accorded the status of a priority claim.2

6.       The Claim is related to Claimant’s energy bill, not for any deposit towards the purchase, lease

         of rental property. No support has been provided to substantiate that any part of the claim

         qualifies for priority classification and no statutory basis exists for the Claim to be classified

         as a priority claim pursuant to Section 507(a)(7) of the Bankruptcy Code.

7.       The Plan represents, in part, an accommodation to Debtor’s former customers by providing

         that claims, such as Claimant’s, could be treated under the Plan as unsecured claims in Class 5

         – Customer Claims. Under the Plan, allowed Class 5 claims are entitled to receive certain pro

         rata distributions as provided in the Plan.

8.       The Claim does not qualify for priority status and should be classified as a Class 5 Customer

         Claim. This objection seeks merely to reclassify the Claim to its proper class and no other



2
  Question 12 asks if all or part of the Claim would qualify as a Section 507(a) claim. In this instance, Claimant has
filled in Question 12, and has checked the box associated with priority claims under 507(a)(7) for certain deposits,
potentially asserting that the Claim should be treated as a 507(a) priority claim for “deposits toward purchase, lease,
or rental of property or services for personal, family, or household use.”

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         adjudication is hereby requested to be made as to the validity or allowability of such claim,

         such other objections, if any, are being hereby reserved.

9.       An Unsworn Declaration under Penalty of Perjury of the Plan Administrator, Russell Nelms,

         in support of this Objection is attached hereto as Exhibit “B”.

         WHEREFORE, PREMISES CONSIDERED, the Plan Administrator, on behalf of the Debtor,

respectfully requests this Honorable Court to disallow the Claim as a priority claim and to reclassify it

as a Class 5 – Customer Claim, without prejudice to further objection, if any, as to its validity or amount

and for such further relief to which it may show itself justly entitled.

                                                             Respectfully submitted,

                                                             /s/ Susan B. Hersh
                                                             Texas State Bar No. 09543925
                                                             SUSAN B. HERSH, P.C.
                                                             12770 Coit Road, Suite 850
                                                             Dallas, Texas 75251
                                                             Telephone:     (972) 503-7070
                                                             Telecopy:      (972) 503-7077
                                                             susan@susanbhershpc.com

                                            CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing was served on all parties receiving
electronic notification pursuant to the Court’s ECF notification system and on Claimant at the address
listed on Claimant’s Claim, via U. S. first class mail, postage prepaid, and by email, on November 14,
2022.
                                                    /s/ Susan B. Hersh

Claimant:
Carrie Mutong
HOME ADDRESS
Plano, TX




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